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                              UNITED STATES BANKRUPTCY COURT
                               SOUTHERN DISTRICT OF INDIANA
                                    NEW ALBANY DIVISION

 In re:                                                          )   Chapter 11
                                                                 )
 EASTERN LIVESTOCK CO., LLC, et al.,1                            )   Case No. 10-93904-BHL-11
                                                                 )
                          Debtors.                               )   JOINTLY ADMINISTERED

                NOTICE OF CHANGE OF ADDRESS FOR BMC GROUP, INC.

 TO: THE CLERK OF COURT, ALL PARTIES AND THEIR ATTORNEYS OF

 RECORD:

          PLEASE TAKE NOTICE that all future notices, pleadings and other documents in this

 case for BMC Group, Inc., the Official Claims and Noticing Agent in the above captioned case

 should be addressed to:

          If by Mail:                                     If by Personal Delivery or Overnight Delivery:

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                 Attn: Claims Processing                             Attn: Claims Processing
                 P.O. Box 3020                                       18675 Lake Drive East
                 Chanhassen, MN 55317-3020                           Chanhassen, MN 55317
                 Toll Free: (888) 909-0100                           Toll Free: (888) 909-0100
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                             (952) 404-5701                                      (952) 404-5701




 1
     The Debtor entities are Eastern Livestock Co., LLC and Okie Farms, L.L.C.
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                                                  Respectfully submitted,

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                                   CERTIFICATE OF SERVICE

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         I further certify that on February 9, 2012, a copy of the foregoing pleading was served via
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